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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

EDELSON PC, an Illinois professional                       )   Case No.: 1:20-cv-07115
corporation,                                               )
                                                           )   Hon. Matthew F. Kennelly
                 Plaintiff,                                )
         v.                                                )
                                                           )
 THOMAS GIRARDI, an individual,                            )   MEMORANUM OF LAW IN
 GIRARDI KEESE, a California general                       )   SUPPORT OF SUMMARY
 partnership, ERIKA GIRARDI a/k/a ERIKA )                      JUDGMENT OR IN THE
 JAYNE, an individual, EJ GLOBAL LLC, a )                      ALTERNATIVE, FOR
 California limited liability company,                     )   PARTIAL SUMMARY
 GIRARDI FINANCIAL, INC., a Nevada                         )   JUDGMENT FILED BY
 corporation, DAVID LIRA, an individual,                   )   DEFENDANT KEITH
 KEITH GRIFFIN, an individual,                             )   GRIFFIN
 JOHNSTON HUTCHINSON & LIRA LLP, )
 a California limited liability partnership,               )
 ROBERT FINNERTY, an individual,                           )
 ABIR COHEN TREYZON SALO, LLP, a                           )
 California limited liability partnership,                 )
 CALIFORNIA ATTORNEY LENDING II,                           )
 INC., a New York corporation, STILLWELL )
 MADISON, LLC, a Delaware limited                          )
 liability company, and JOHN DOE 1-10,                     )
                                                           )
                 Defendants.                               )
----------------------------------------------------------
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                                       MEMORANDUM OF LAW

I.     INTRODUCTION

       This entire action should be dismissed because the fee-sharing agreements between Edelson and

Girardi Keese were not contemporaneously signed by the underlying clients and are therefore unenforceable

as a matter of law. 1 It is well settled that any consent agreement for a division of fees between two law

firms must made at the time the lawyers enter into the agreement to divide the fee or as soon thereafter as

reasonably practicable. Here, Edelson’s belated attempt to obtain consent from the clients 32 months later

is void as a matter of law.

II.    STATEMENT OF FACTS

       A. The Underlying Boeing Action.

       On October 29, 2018, a Boeing plane operating the route of Lion Air Flight 610 crashed into the

Java Sea killing all 189 passengers and crew. More than a dozen families of victims of the crash retained

Girardi Keese to prosecute their civil matters against Boeing in the matter of In Re: Lion Air Flight JT610

Crash, No. 18-cv-07686 (N.D. Ill.) (“Boeing Action”). [Docket #1; Complaint ¶¶ 34, 37]. The litigation

took place in this District before the Honorable Thomas M. Durkin. The victims’ claims were resolved via

settlement in early 2020. [Complaint ¶ 38].

       The Lion Air clients were jointly represented by Edelson and Girardi Keese. Edelson is an Illinois

professional corporation operating as a law firm, with its principal place of business in Chicago, Illinois.2

[Complaint ¶ 17]. Girardi Keese maintained its principal place of business in Los Angeles, California.

[Complaint ¶ 17]. Mr. Griffin is a resident of the State of California. Mr. Griffin is licensed to practice law



       1
         / Mr. Griffin contends that California law applies to this dispute, however, out of an abundance of
caution, this dispute is analyzed under both California and Illinois law and the ABA Model Rules of
Professional Conduct.
       2
         / Edelson also operates a second office in San Francisco, California and employs numerous
California barred attorneys, including many attorneys who are involved with this dispute. Edelson does
not operate an office in any other city.
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in the State of California and was previously employed by Girardi Keese as an attorney of the firm.

[Statement of Material Fact (“SMF”) #1.] Mr. Griffin was not an owner or equity partner of the law firm.

[SMF #2.] Mr. Griffin also did not have any access or signing authority on the client trust accounts of

Girardi Keese. [SMF #3.] 3

        Edelson alleges that it entered a written fee sharing agreement with Girardi Keese which provided

that if Edelson would act as local counsel, then Plaintiff would receive 50% of the total attorneys’ fees

recovered for a specific set of Lion Air clients. [Complaint ¶¶ 102, 104]. This agreement was memorialized

by a letter dated April 3, 2019 which was drafted and delivered by Mr. Griffin on behalf of Girardi Keese

to Edelson’s Ari Scharg regarding the “Boeing Cases” (“April 3, 2019 letter”). The letter substantively

states as follows:

        This will confirm our agreement that our fee split will be 50/50 on the Boeing cases that you
        have filed with us in Chicago concerning the Lion Air crash. If it turns out that one of our
        two firms performs significantly more work than expected, or less if the case settles fairly
        quickly, we will adjust the fee split as would be reasonable to both firms. Thanks again for
        your work so far and looking forward to our future work together. [SMF #4.]

        The April 3, 2019 letter was not signed by any of the Lion Air clients and none of the Lion Air

clients were copied with the letter. [SMF #5.]

        Edelson alleges it entered into a second written agreement with Girardi Keese which provided that

if Edelson would act as local counsel, it would receive 20% of total attorneys’ fees recovered for a separate

set of clients. [Complaint ¶¶ 103-104]. This agreement was memorialized by a letter dated June 17, 2019,

from Defendant David Lira on behalf of Girardi Keese to Edelson’s Ari Scharg. (“June 17, 2019 letter”).

The letter states:



        3
         / Edelson and Mr. Griffin entered a stipulation in the Boeing Action which states in full: “Keith
Griffin was not an authorized signatory on the Girardi Keese client trust account held at Torrey Pines
Bank and ending in 5859. At all relevant times, Mr. Griffin did not have the legal authority to sign any
checks from this client trust account and did not have the legal authority to issue any wire transfers from
this client trust account. Further, Mr. Griffin did not have the ability to stop payment on any checks or
cancel any withdrawals from this client trust account.” [Boeing Action Docket #1203.]
                                                     2
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        This will confirm our telephone conversation of this afternoon. As I indicated, I am prepared
        to file approximately ten wrongful death lawsuits arising from the Lion Air disaster. Your
        firm is currently co-counsel on a number of cases previously filed by my firm with Keith
        Griffin taking the lead on behalf of Girardi Keese. It was discussed and agreed in our
        conversation that the referral fee paid to your firm in assisting in this matter will be twenty
        (20%) percent of the total attorneys' fees recovered. It is my intent to take the laboring oar
        in discovery and other tasks. As you can imagine, I will need your assistance in the actual
        filing of the lawsuits and appearances before the Court when I am not able to attend. Is there
        a pro hac vice form to complete? Keith will also be assisting. If this does not comport with
        your understanding of our agreement, please advise. I look forward to working with you.
        [SMF #6.]

        The June 17, 2019 letter was not signed by any clients, and none of the clients were copied with the

letter. [SMF #7.]

        Edelson acted as counsel and assisted in the litigation and settlement of the Boeing Action.

[Complaint, ¶ 105]. In mid-2020, the parties in the underlying Boeing Action reached a settlement and

money was transferred from Boeing to Girardi Keese. This money was for the benefit of the Lion Air clients,

minus agreed upon attorneys’ fees. [Complaint, ¶ 86]. Mr. Griffin did not, at any time, receive any money

from the settlement. The money was received by Girardi Keese. Girardi Keese did not pay Edelson its full

share of the attorneys’ fees. [Complaint, ¶ 106].

        At issue in this specific dispute are settlements for five of the underlying plaintiffs in the Boeing

Action: (1) Bias Ramadhan A.S. Bin Misyadi (“Mr. Bias”) [Ex. “3” at p. 18.]; (2) Dian Daniaty Binti Udin

Zaenudian (“Ms. Dian”) [Ex. “3” at p. 21]; (3) Anice Kasin (“Ms. Anice”) [Ex. “3” at p. 23]; (4) Elzawarti,

Multi Rizki (“Mr. Rizki”) [Ex. “3” at p. 25]; and (5) Septiana Damayanti (“Ms. Septiana”) [Ex. “3” at p.

28].

        Their claims were dismissed as follows: (1) Mr. Bias on March 9, 2020 [Boeing Action Docket

#427]; (2) Ms. Dian on March 4, 2020 [Boeing Action Docket #424]; (3) Ms. Anice on February 24, 2020

[Boeing Action Docket #384]; (4) Mr. Rizki on June 4, 2020 [Boeing Action Docket #593]; and (5) Ms.

Septiana on March 4, 2020 [Boeing Action Docket #419].




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        Edelson was terminated and replaced as counsel in the Boeing Action on December 16 and 21, 2020.

[Boeing Action Docket #s 860 and 895.]

        B. Procedural Status.

        On December 2, 2020, Edelson filed the instant Complaint. Shortly thereafter, in the Boeing Action,

Girardi Keese and Thomas Girardi were held in contempt of court on December 18, 2020. [Boeing Action

Docket #879.] Also, in December 2020, Girardi Keese and Thomas Girardi filed for bankruptcy protection.

United States Bankruptcy Court, Central District of California, case numbers 20-21022 and 20-21020.

        In the instant action, on August 30, 2021, Mr. Griffin filed a Rule 12(c) Motion for Judgment on the

Pleadings because the fee sharing agreements between Girardi Keese and Edelson are void as a matter of

law. The day after the motion was filed, this Court conducted a status conference call and denied the motion

without prejudice stating that this issue should be asserted in the form of a Rule 56 motion instead of a Rule

12 motion. [Docket #97.]

        Subsequently, on December 2, 2021, Edelson obtained the clients’ written consent to the April 3,

2019 letter regarding the purported division of attorneys’ fees. (“December 2, 2021 consent”). [SMF #8.]

The December 2, 2021 consent is too late and void as a matter of law.

III.    LEGAL STANDARD

        This motion only concerns legal issues and there are no triable issues of fact. Accordingly, summary

judgment is the proper procedure to dismiss this action. Rule 56(c).

IV.     THE FEE-SHARING AGREEMENT IS VOID UNDER CALIFORNIA LAW

               A. California Law Applies to this Dispute.

        The April 3, 2019 letter does not contain a choice of law provision. In general, “[f]ederal courts

hearing state law claims under diversity or supplemental jurisdiction apply the forum state's choice of law

rules to select the applicable state substantive law.” McCoy v. Iberdrola Renewables, Inc., 760 F.3d 674,

684 (7th Cir. 2014). In Illinois, courts apply forum law unless there is “an actual conflict with another


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state's law.” Gunn v. Cont'l Cas. Co., 968 F.3d 802, 808 (7th Cir. 2020). It is only necessary to perform a

choice-of-law determination when a difference between the states’ laws would affect the outcome of the

dispute. Bridgeview Health Care Ctr., Ltd. v. State Farm Fire & Cas. Co., 10 N.E.3d 902, 905 (Ill. 2014).

Here, the Rules of Professional Conduct are not identical between California and Illinois. So, out of an

abundance of caution, there needs to be a determination as to which state’s Rules of Professional Conduct

apply to this dispute. However, please note, Mr. Griffin contends that regardless of which Rules are applied,

the result is the same – the April 3, 2019 letter is void. When conducting a substantive choice-of-law

analysis, Illinois courts follow the approach of the Second Restatement of Conflicts of Laws. Barbara's

Sales, Inc. v. Intel Corp., 879 N.E.2d 910, 919 (Ill. 2007). Under this approach, “the rights and liabilities as

to a particular issue are to be governed by the jurisdiction which retains the ‘most significant relationship’

to the occurrence and the parties.” Id. Here, the substantive issue is not the outcome of the Boeing Action,

but rather the validity of a fee sharing agreement between Girardi Keese and Edelson. The Northern District

of Illinois has resolved the issue of which Rules of Professional Conduct apply in this exact situation. See,

Local Rule 83.50.

       Northern District of Illinois, LR83.50 provides that:

       “Applicable disciplinary rules are the Model Rules adopted by the American Bar
       Association. On any matter not addressed by the ABA Model Rules or for which the ABA
       Model Rules are inconsistent with the Rules of Professional Conduct, a lawyer admitted to
       practice in Illinois is governed by the Illinois Rules of Professional Conduct, as adopted by
       the Illinois Supreme Court, and a lawyer not admitted to practice in Illinois is bound by the
       Rules of Professional Conduct for the state in which the lawyer’s principal office is
       located. (emphasis added).

               B. California Rules of Professional Conduct

       California Rules of Professional Conduct, Rule 1.5.1(a) (Adopted, eff. Nov. 1, 2018) concerns fee

divisions among lawyers in different firms. The Rule states that:

       (a) Lawyers who are not in the same law firm shall not divide a fee for legal services unless:
       (1) the lawyers enter into a written agreement to divide the fee;
       (2) the client has consented in writing, either at the time the lawyers enter into the
       agreement to divide the fee or as soon thereafter as reasonably practicable, after a full

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       written disclosure to the client of: (i) the fact that a division of fees will be made; (ii) the
       identity of the lawyers or law firms that are parties to the division; and (iii) the terms of the
       division; (emphasis added).

       California's Supreme Court noted that the rules requiring written client consent to fee-sharing were

specifically and “formally approved in order ‘to protect the public[.]’” Chambers v. Kay, 29 Cal.4th 142,

158 (2002).

       The Rule's disclosure and consent requirements are intended to safeguard clients' right to know how

their legal fees will be determined and the extent of, and basis for, their attorneys' sharing of fees. Huskinson

& Brown v. Wolf, 32 Cal.4th 453, 459 (2004); Mark v. Spencer, 166 Cal.App.4th 219, 226 (2008). It is well

settled that “a contract which is against public policy, good morals, or the express mandate of law cannot

be made the basis of either legal or equitable relief in the courts[.]” Bank of Orlando v. Harlan, 188 Cal.

413, 421 (1922).

       Rule 1.5.1(a) recognizes that fee division agreements create a potential attorney-client conflict of

interest. For example, while a 50/50 fee-splitting agreement might contemplate the attorneys will shoulder

equal duties and responsibilities, if one attorney ends up performing less work, he or she may be tempted

to pad the bills to create the appearance of a 50/50 workload. Alternatively, if one attorney discovers he or

she is spending far more time on the case than co-counsel, that attorney may encourage early settlement to

stem the losses. Conversely, an attorney spending less time on the case may wish to “drag out” the litigation,

knowing he or she will eventually recover fees disproportionately larger than those actually earned. Mark

v. Spencer, 166 Cal.App.4th 219, 225 (2008).

       Likewise, the December 2, 2021 consent is unenforceable and against public policy as the clients

were not informed of, and did not consent to, a 50/50 attorney fee division in 2019. The Rule requires that

the consent be entered into at the time of the April 3, 2019 letter or as soon thereafter as reasonably

practicable. Cal. R. Prof’l Conduct R. 1.5.1(a)(2).




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       Here, Edelson obtained the December 2, 2021 consent 32 months after the April 3, 2019 letter. This

is not in compliance with California Rule 1.5.1(a)(2) which requires the client’s consent be obtained "at the

time the lawyers enter into the agreement to divide the fee.”

       Allowing Edelson’s belated attempt to obtain consent to a fee division defeats the purpose of the

Rule’s intent and purpose to protect the client’s interest. Edelson’s self-serving attempt to collect attorneys’

fees in this matter long after the attorneys entered into an alleged fee division agreement, and long after the

case was settled and dismissed, is against public policy and is therefore void as a matter of law.


V.     THE FEE-SHARING AGREEMENT IS VOID UNDER ILLINOIS LAW

       Assuming, arguendo, that Edelson tries to argue that California law does not apply, but instead

Illinois law applies, the same result occurs: the December 2, 2021 consent is void.

       Illinois Rules of Professional Conduct, Rule 1.5(b) (eff. Jan. 1, 2010) regarding attorney-client fee

agreements provides that:

       “. . . (b) The scope of the representation and the basis or rate of the fee and expenses for
       which the client will be responsible shall be communicated to the client, preferably in
       writing, before or within a reasonable time after commencing the representation,
       except when the lawyer will charge a regularly represented client on the same basis or
       rate. Any changes in the basis or rate of the fee or expenses shall also be communicated
       to the client.” (emphasis added).

       Illinois Rules of Professional Conduct, rule 1.5(e) regarding the division of fees provides:

       (e) A division of a fee between lawyers who are not in the same firm may be made only
       if:
       (1) the division is in proportion to the services performed by each lawyer, or if the primary
       service performed by one lawyer is the referral of the client to another lawyer and each
       lawyer assumes joint financial responsibility for the representation;
       (2) the client agrees to the arrangement, including the share each lawyer will receive, and
       the agreement is confirmed in writing; 4 and
       (3) the total fee is reasonable. (emphasis added).



       4
         / Please note the future tense of the phrase “the share each lawyer will receive”. This issue is
analyzed below in Section VI and is indicative that the fee sharing agreement must be signed at the outset
of the representation, not 32 months after the representation ends.
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       Fee-sharing arrangements are only acceptable under Illinois law only if they serve the client's best

interest. Woods v. Southwest Airlines, Co. (N.D. Ill.2007) 523 F.Supp.2d 812, 822. In Illinois, a client

demonstrates whether a fee arrangement is in his or her best interest by consenting to it, not consenting to

it, or changing his or her mind about consenting to it. Id.

       In Bennett v. GlaxoSmithKline LLC, 2020 IL App (5th) 180281, 151 N.E.3d 1184 (Ill. 2020), the

Court of Appeal held that the attorneys’ violation of the provisions of Rule 1.5 is against public policy and

unenforceable. Id. at 1195.

       In Bennet, a “bundled” complaint (Gabel v. GlaxoSmithKline, No. 09-L-621 (Cir. Ct. St. Clair

County)) was filed against defendant, GlaxoSmithKline LLC (“GSK”), on behalf of numerous individual

plaintiffs who alleged they suffered cardiovascular injuries after taking Avandia, a medication that is made

by GSK that is prescribed to individuals with type 2 diabetes. Attorney Steven Johnson was retained to sue

GSK on behalf of the plaintiffs. Johnson met with attorney Michael Baum, and Baum agreed to act as trial

counsel. In a series of e-mail exchanges, Johnson and Baum agreed to a fee arrangement whereby Baum

would receive 75% of the attorney fees collected from a set of clients in the underlying action, and 10% of

the attorney fees from a separate set of clients in the underlying action. A dispute arose regarding the

attorney’s fees and the circuit court ordered payment of Baum’s attorney fees be made from the plaintiffs’

settlement fund. Id. at 1193.

       On appeal, Johnson argued that Baum may not receive attorney’s fees because none of the plaintiffs

gave written approval to representation by Baum or written approval to a fee-sharing arrangement between

Baum and Johnson as required under Rule 1.5 of the Illinois Rules of Professional Conduct. Id. at 1194-95.

       Baum asserted that under these types of circumstances, where there has not been strict compliance

with the rules concerning disclosure of fee-sharing, the appropriate remedy is not to give a windfall to

Johnson at the expense of less culpable co-counsel, but rather to permit the fee split under joint venture and

fiduciary duty principles. Id. at 1195.


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       The Bennet Court held that the Illinois Rules of Professional Conduct of 2010 provides a

comprehensive set of rules governing the professional conduct of Illinois attorneys. Id. The Rules of

Professional Conduct are part of the Illinois Supreme Court rules, and so they operate with the force and

effect of law. In re Vrdolyak, 137 Ill. 2d 407, 422, 148 Ill.Dec. 243, 560 N.E.2d 840 (1990). The Supreme

Court rules are not aspirational or mere suggestions; they have the force and effect of law. Bright v. Dicke,

166 Ill. 2d 204, 210, 209 Ill.Dec. 735, 652 N.E.2d 275 (1995). Additionally, the Rules of Professional

Conduct are interpreted in accordance with the principles of statutory construction. Ferris, Thompson &

Zweig, Ltd. v. Esposito, 2017 IL 121297, ¶¶ 21-22, 418 Ill.Dec. 242, 90 N.E.3d 400.

       The provisions of Rule 1.5 embody Illinois's public policy of placing the rights of clients above

any remedies of lawyers seeking to enforce fee-sharing arrangements. Bennet, supra, at 1195; Romanek

v. Connelly, 324 Ill. App. 3d 393, 399, 257 Ill.Dec. 436, 753 N.E.2d 1062 (2001). Accordingly, a fee-

sharing agreement that violates the provisions of Rule 1.5 is against public policy and unenforceable.

Thompson v. Hiter, 356 Ill. App. 3d 574, 589-90, 292 Ill.Dec. 362, 826 N.E.2d 503 (2005). Since the clients

were not informed of, and did not consent to the fee division agreement, the Bennet Court held that pursuant

to Rule 1.5, the fee-sharing agreement between Baum and Johnson was unenforceable as against public

policy. Bennet, supra, at 1196.

       Other Illinois Courts have similarly held that the failure to comply with Rule 1.5(e) precludes

enforcement of the fee-sharing arrangement. Hiter, supra, 356 Ill. App. 3d at 590; Schniederjon v. Krupa,

162 Ill. App. 3d 192, 195, 113 Ill.Dec. 189, 514 N.E.2d 1200 (1987) (courts will not enforce an agreement

that is against public policy, no matter “whose ox is gored”).

       Here, the underlying Boeing Action clients were not informed of the fee arrangement between

Edelson and Girardi Keese. When Edelson obtained the Lion Air clients’ consent to the April 3, 2019 letter

in December 2021, it was too late as a matter of law. Edelson’s belated attempt to obtain consent to the

division of attorneys’ fees well after the clients no longer have an opportunity to make an informed decision,


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is against public policy to protect the interest of the clients. The only purpose of obtaining the clients’

consent to the fee division so late is for the sole monetary benefit and interest of Edelson.

       Indeed, obtaining the clients’ consent after the case has already been settled defeats the objective of

Rule 1.5 of the Illinois Rules of Professional Conduct. In Naughton v. Pfaff (2016) IL App (2d) 150360,

¶¶ 65-66, 57 N.E.3d 503, 520–21, the Court held that “[u]nder Rule 1.5, the obligation to ensure that the

client signed such a disclosure could not be delegated to [defendant] alone, and the lack of the signed

disclosure precludes [plaintiff] from recovering under the alleged fee-sharing agreement underlying his

breach-of-fiduciary-duty claim. Accordingly, the trial court correctly granted summary judgment for

defendants.” Naughton, supra, at 521.

       Here, the clients could have decided not to consent to any purported fee division between Edelson

and Girardi Keese if they were informed of the fee division at the outset of the matter, or within a reasonable

time thereafter. Being informed of and consenting to an alleged fee agreement after the clients settled their

case, and after the cases were dismissed, and after being informed that Mr. Girardi absconded with the

funds, has no purpose or effect other than to serve the best interest of the attorney attempting to enforce an

alleged fee division agreement. There is no purpose served by obtaining their consent in December 2021.

Edelson is putting its fee collection effort above any remedies for the clients. As such, the December 2,

2021 consent is void.

VI.    THE DECEMBER 2, 2021 CONSENT IS VOID UNDER THE AMERICAN BAR

       ASSOCIATION OF PROFESSIONAL CONDUCT, RULE 1.5.

       The Illinois Rules of Professional Conduct, Rule 1.5(e) is nearly identical to the American Bar

Association (“ABA”) Model Rules of Professional Conduct, Rule 1.5(e) 5, which provides as follows:


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        / The only difference between the Illinois Rules of Professional Conduct, rule 1.5(e), and the
American Bar Association Rules, rule 1.5(e), is that the former adds the following in italics: “(1) the
division is in proportion to the services performed by each lawyer, or if the primary service performed by
one lawyer is the referral of the client to another lawyer and each lawyer assumes joint financial
responsibility for the representation.”
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         (e) A division of a fee between lawyers who are not in the same firm may be made only if:
         (1) the division is in proportion to the services performed by each lawyer or each lawyer assumes
         joint responsibility for the representation;
         (2) the client agrees to the arrangement, including the share each lawyer will receive, and the
         agreement is confirmed in writing; and
         (3) the total fee is reasonable. (emphasis added).

         In April 2016, the ABA issued Formal Ethics Opinion No. 16-474, wherein the ethics committee of

the ABA wrote, in connection with ABA Rule 1.5(e), that: “[w]hen one lawyer refers a matter to a second

lawyer outside of the firm and the first lawyer either performs legal services in connection with or assumes

joint responsibility for the matter and accepts a referral fee, the agreement regarding the division of fees,

including client consent confirmed in writing, must be completed before or within a reasonable time

after the commencement of the representation.” ABA Formal Op. 16-474 at 1 (emphasis added). [Exhibit

“4.”].

         The Formal Ethics Opinion goes on to state that: “Rule 1.5(e)(2) uses the future tense in the phrase

‘including the share each lawyer will receive’ to describe what the fee division agreement must include, and

Comment [7] to Rule 1.5 explains ‘the client must agree to the arrangement, including the share that each

lawyer is to receive . . . .’ The use of the future tense envisions that the fee division agreement will

precede the division of fees. Such an agreement should not be entered into toward the end of such a

relationship. Instead, the division of fees must be agreed to either before or within a reasonable time

after commencing the representation.” ABA Formal Op. 16-474 at 6 (emphasis added).

         In a case arising out of the United States District Court, Southern District of New York, the Tarzy

Court held that the client's signing of the confidential settlement agreement, at the end of his case, does not

bring the fee sharing agreement into compliance with either New York Rule of Professional Conduct

1.5(g) or New Jersey Rule of Professional Conduct 1.5(e). Tarzy v. Dwyer, No. 18 CIV. 1456 (JFK), 2019

WL 132280, at *1–2 (S.D.N.Y. Jan. 8, 2019).




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       “This Court has found no case law that holds that a client can ratify a fee sharing agreement

after a dispute has been litigated. In fact, the ABA has authored a formal opinion interpreting ABA

Model Rule of Professional Conduct 1.5 -- on which both rules are based -- which states that a client's

consent to a fee sharing agreement must be obtained either before or within a reasonable time after

commencing the representation. ABA Comm'n on Ethics & Prof'l Responsibility, Formal Op. 474

(2016), at 6.” Tarzy v. Dwyer, No. 18 CIV. 1456 (JFK), 2019 WL 132280, at *8 (S.D.N.Y. Jan. 8, 2019)

(emphasis added).

       The District Court in Tarzy continued to hold that the attorneys failed to allege that they obtained

client's written consent to the fee sharing arrangement before commencing with the client's case, and

plaintiff cannot cure that defect by arguing that the client later ratified his consent during the settlement of

his employment discrimination case. Id.

       The Second Circuit had a similar ruling in in Wagner & Wagner, LLP v. Atkinson, Haskins, Nellis,

Brittingham, Gladd & Carwile, P.C., (2d Cir. 2010) 596 F.3d 84. In this matter, the appellants argued that

even if there was a violation of the fee division rules, it was a prospective violation of technical

requirements and curable, presumably by providing the client with a “joint responsibility” letter before fees

have been paid. Id. at 92. The Circuit Court disagreed holding that the fee division rule “does not impose

an explicit time requirement, it clearly anticipates compliance with its requirements early on in the

representation, as it requires that ‘[t]he client consents to the employment of the other lawyer.’” Id. The

Wagner Court continued: “Moreover, the undertaking of joint responsibility is difficult (to say the least) to

accomplish, other than as a charade, after a settlement with the defendant has been reached. Therefore, the

district court did not abuse its discretion by not allowing appellants to ‘cure’ the violation after a settlement

and scheduling of an infant compromise hearing.” Id.

       Here, Edelson should not be allowed to “cure” the violation by belatedly obtaining the clients’

consent to a purported fee division that was entered into 32 months prior, and after the case had already


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settled. Edelson’s actions have led to precisely what the court in Wagner & Wagner attempted to avoid

when it stated that the undertaking of joint responsibility is difficult to accomplish, other than as a charade,

after a settlement has been reached.

VII.    UNJUST ENRICHMENT IS NOT A VIABLE CLAIM UNDER ILLINOIS LAW

        Plaintiff’s Count I is a claim for Unjust Enrichment. [Complaint, pp. 23-25]. None of the Counts in

Plaintiff’s Complaint allege fraudulent conduct. [Complaint, pp. 23-29]. In Illinois, “a claim of unjust

enrichment is not a separate cause of action that, standing alone, will justify an action for recovery.” Siegel

v. Shell Oil Co., 612 F.3d 932, 937 (7th Cir. 2010); Toulon v. Cont'l Cas. Co., 877 F.3d 725, 741 (7th Cir.

2017) (“Unjust enrichment does not constitute an independent cause of action. Rather, it is a condition that

may be brought about by unlawful or improper conduct as defined by law, such as fraud, duress or undue

influence, or, alternatively, it may be based on contracts which are implied in law.”); Pirelli Armstrong Tire

Corp. Retiree Med. Benefits Tr. v. Walgreen Co., 631 F.3d 436, 447 (7th Cir. 2011) (same).

        In 2011, the Seventh Circuit in Cleary v. Philip Morris (2011) 656 F.3d 511 considered again

whether unjust enrichment was a standalone tort or rather a parasitic claim for recovery tethered to an

underlying tort. The Seventh Circuit analyzed a line of older Illinois Supreme Court decisions recognizes

an independent cause of action for unjust enrichment and compared them with a 2009 Illinois appellate

court decision Martis v. Grinnell Mut. Reinsurance Co, 905 N.E.2d 920 (2009) which held unjust

enrichment is not a separate cause of action.

        The Cleary Court reconciled the disparity by leaning toward the Martis decision, finding that if an

unjust enrichment claim rests on the same improper conduct alleged in another claim, then the unjust

enrichment claim will stand or fall with the related claim. Cleary at 517.

        Seventh Circuit District Court cases since Cleary have continued to move in line with Martis,

holding that unjust enrichment is not a separate claim of recovery. For example, in Allergase, Inc. v.

Walgreen Co., 2017 WL 66819 at *4 (N.D. Ill. 2017), a plaintiff claimed to have pled an unjust enrichment


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claim in the alternative, if the court determined that a contract had not been formed. However, because the

complaint also contained allegations of an express contract, the Northern District Court dismissed the

plaintiff’s unjust enrichment theory. Id. In Buschauer v. Columbia College Chicago, 2022 WL 103695

(N.D. Ill. 2022), the Court noted that, “[w]ithout addressing Cleary’s prediction that the Illinois Supreme

Court would recognize unjust enrichment as a separate cause of action, subsequent Seventh Circuit cases

have disagreed with Cleary and aligned with Martis, concluding that unjust enrichment may not proceed as

a separate claim.

       Here, Plaintiff cannot recover on an unjust enrichment for several reasons. First, Plaintiff pled the

existence of a written contract, including such allegations in its Count I for unjust enrichment. [Complaint

¶¶ 87, 102-104]. Plaintiff’s unjust enrichment claim is premised on a failure to fulfill contractual terms,

and therefore dismissal of the unjust enrichment claim is appropriate. Miller v. Lewis Univ., No. 20 C 5473,

2021 WL 1379488, at *6 (N.D. Ill. Apr. 11, 2021). When the predicate claim fails, the parasitic claim for

unjust enrichment fails with it. Second, Plaintiff has not alleged fraud and there is no evidence of deceptive

conduct by Defendant Griffin in this case. See Toulon, 877 F.3d at 742. Third and finally, the Seventh

Circuit and the most recent district court opinions have found that unjust enrichment is not a standalone tort

that can stand either in the absence of a predicate claim or as an alternative to such a claim.

VIII. THE ACCOUNTING CLAIM FAILS AS TO DEFENDANT GRIFFIN

       “Under Illinois law, to state a claim for an equitable accounting, a plaintiff must show the absence

of an adequate remedy at law and one of the following: (1) a breach of fiduciary relationship between the

parties; (2) a need for discovery; (3) fraud; or (4) the existence of mutual accounts which are of a complex

nature.” Rosenstock v. Sollars, 2018 WL 5808471, at *2 (N.D. Ill. Nov. 6, 2018). Plaintiff alleges an

accounting is appropriate because “any information on the current status and location of that money is

within the exclusive knowledge of Defendants.” [Complaint ¶ 99]. However, Plaintiff has not asserted and




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cannot assert any claims of fraud against Defendant Griffin. To that end, Edelson already stipulated that

Mr. Griffin did not have access to the settlement funds. [MSF #3.]

IX.    CONCLUSION

       The entire basis of this action against Defendant Griffin arises from the foundation that Edelson had

a proper fee sharing agreement with Girardi Keese. If such arrangement is void as a matter of law, then

Edelson has no claim against Mr. Griffin to enforce such fee sharing agreement. As such, all Counts should

be dismissed.

       For the foregoing reasons, Defendant Keith Griffin respectfully requests that the Court dismiss

Plaintiff’s Count I for unjust enrichment, Count II for accounting, Count III for breach of contract, and

Count V for conversion.

                                                    Respectfully submitted,

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